                        Case 4:12-cr-00143-KGB Document 293 Filed 11/06/14 Page 1 of 6
A02458        (Rev. 09/11) Judgment in a Cnmmal Case
              Sheet I

                                                                                                                       uov - c 20111
                                          UNITED STATES DISTRICT COURJ:MEs
                                                                                                                                     LERK
                                                            Eastern District of Arkansas                    By: __""H''tf--¥-"""'--~=-=-:-=
                                                                          )
              UNITED STATES OF AMERICA                                    )        JUDGMENT IN A CRIMINAL CASE
                                 v.                                       )
                    TENESHIA W. ROBERTS                                   )
                                                                                   Case Number: 4:12-cr-00143-06 KGB
                                                                          )
                                                                          )        USM Number: 27103-009
                                                                          )
                                                                          )        ROBERT F. MOREHEAD
                                                                                   Defendant's Attorney
THE DEFENDANT:
~pleaded guilty to count(s)           1
                                   ----------------------------------------------------------------------~




D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended
 18 U.S.C. § 286                  Conspiracy to Defraud the Government, a Class D Felony                     9/30/2009                    1




       The defendant is sentenced as provided in pages 2 through           __6_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

lt'count(s)     6                                       ~is        Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notifY the court and United States attorney of material changes in economic circumstances.

                                                                              10/24/2014
                                                                           Date of Imposition of Judgment
                                                                                             ...




                                                                              Kristine G. Baker                         U.S. District Judge
                                                                          Name and Title of Judge




                                                                           Date
                                                                                  Nov. (p, '1-0ltt
                         Case 4:12-cr-00143-KGB Document 293 Filed 11/06/14 Page 2 of 6
AO 2458     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2- Impnsonment
                                                                                                   Judgment- Page   --=2_ of   6
DEFENDANT: TENESHIA W. ROBERTS
CASE NUMBER: 4:12-cr-00143-06 KGB


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
  15 months.




    ilf The court makes the following recommendations to the Bureau of Prisons:
 The Court recommends that the defendant participate in mental health counseling, parenting and educational and vocational
 programs during incarceration. The Court also recommends that the defendant be placed in the facility closest to Pine Bluff,
 Arkansas.

    D The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
          D at       -----------------
                                                     D a.m.    D p.m.     on

          D as notified by the United States Marshal.

    ilf The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          ~ before 2 p.m. on            12/1/2014

          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                      to

 a ____________________________ , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL



                                                                        By ----------=====~==~~==~~~~---------
                                                                                    DEPUTY UNITED STATES MARSHAL
                           Case 4:12-cr-00143-KGB Document 293 Filed 11/06/14 Page 3 of 6
AO 2458       (Rev 09/11) Judgment m a Criminal Case
              Sheet 3- Supervised Release
                                                                                                           Judgment-Page       3     of         6
DEFENDANT: TENESHIA W. ROBERTS
CASE NUMBER: 4:12-cr-00143-06 KGB
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 3 years.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody ofthe Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check. if applicable.)

 ~ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check. if applicable.)
 ~ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 0        as directed by the probatiOn officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 0        The defendant shall participate in an approved program for domestic violence. (Check, if applicable)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
     I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any JJersons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and

  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or Rersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
                     Case 4:12-cr-00143-KGB Document 293 Filed 11/06/14 Page 4 of 6
AO 2458   (Rev 09/11) Judgment m a Cnminal Case
          Sheet 3C -Supervised Release
                                                                                               Judgment-Page          of
DEFENDANT: TENESHIA W. ROBERTS
CASE NUMBER: 4:12-cr-00143-06 KGB

                                      SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall participate in a mental health assessment and then, if necessary, mental health treatment as
 approved by the probation office. The defendant shall participate in the cost of the treatment to the extent that she is able.

 The defendant shall disclose financial information upon request of the U.S. Probation Office including, but not limited to,
 loans, lines of credit, and tax returns. This also includes records of any business with which the defendant is associated.

 No new lines of credit shall be established without prior approval of the U.S. Probation Office until all criminal penalties
 have been satisfied.

 The defendant will not transfer, sell, give away, or otherwise convey any asset without prior approval of the U.S. Probation
 Office.

 The defendant shall not act as a tax preparer or request, assist in or direct the preparation of filing of federal tax returns or
 other forms or documents for any person or entity other than herself or appear as a representative on behalf of any person
 or organization whose tax liabilities are under examination or investigation by the IRS.

 The defendant shall not prepare, file or assist in the preparation of filing of tax returns for others that the defendant knows
 will result in the understatement of any tax liability.

 The defendant shall not understate customers' tax liabilities as subject to penalty under the Internal Revenue Code Section
 6694.

 The defendant shall not instruct or advise taxpayers to understate their federal tax liabilities.

 The defendant shall not engage in any other activity subject to penalty under Internal Revenue Code Section 6694.

 The defendant shall not engage in any other conduct that substantially interferes with the proper administration and
 enforcement of the Internal Revenue laws.

 The defendant shall not engage in any activity subject to penalty under Internal Revenue Code Section 6695.
                       Case 4:12-cr-00143-KGB Document 293 Filed 11/06/14 Page 5 of 6
AO 2458   (Rev. 09/11) Judgment in a Crimmal Case
          Sheet 5 - Cnmmal Monetary Penalt1es
                                                                                                         Judgment- Page          of
DEFENDANT: TENESHIA W. ROBERTS
CASE NUMBER: 4:12-cr-00143-06 KGB
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                            Fine                               Restitution
TOTALS            $ 100.00                                                $ 0.00                             $ 1,364,171.00


D The determination of restitution is deferred until             -----
                                                                          . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximate!)' proportioned payment, unless specified otherwise in
     the priorit)' order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                                               Total Loss*          Restitution Ordered Priority or Percentage
  IRS- RACS                                                                   $1 ,364,171.00            $1 ,364,171.00    Joint and Several

  Attn: Mail Stop 6261

  Restitution

  333 West Pershing

  Kansas City, Missouri




TOTALS                              $                   1 ,364,171 .00         $ - - - - - - - - -1-,364,171.00
                                                                                                     ---------



D     Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

ri/ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      D the interest requirement is waived for the               D fine     D restitution.
                                                                  ~                                      Government waives the interest
      ~ the interest requirement for the            D     fine    YJ restitution is modified as follows: requirement _ no interest.



*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A ofTitle 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                        Case 4:12-cr-00143-KGB Document 293 Filed 11/06/14 Page 6 of 6
AO 2458    (Rev 09/11) Judgment in a Criminal Case
           Sheet 6- Schedule of Payments
                                                                                                             Judgment- Page _     _....6_ of          6
DEFENDANT: TENESHIA W. ROBERTS
CASE NUMBER: 4:12-cr-00143-06 KGB

                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ri/ Lump sum payment of$ _0_._0_0_ _ _ __ due immediately, balance due
                 not later than                                     , or
                 in accordance           D C,        D D,      D      E,or     ri/ F below; or
 B    D    Payment to begin immediately (may be combined with                D C,        D D, or      D F below); or
 C    D    Payment in equal                         (e.g, weekly, monthly, quarterly) installments of $                            over a period of
                           (e.g, months or years), to commence                       (e.g, 30 or 60 days) after the date of this judgment; or

 D    D    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                           (e.g, months or years), to commence                        (e.g, 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    D    Payment during the term of supervised release will commence within                 (e.g, 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    ri/ Special instructions regarding the payment of criminal monetary penalties:
            During incarceration, the defendant will pay 50 percent per month of all funds that are available to her. During
            residential re-entry placement, payments will be reduced to 10 percent of the defendant's monthly income.
            Beginning the first month of supervised release, payments will be 1 0 percent per month of the defendant's gross
            monthly income.


 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 rJ/ Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.

       Restitution shall be joint and several with any other person who has been or will be convicted on an offense for which
       restitution to the same victim on the same loss is ordered.



 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
